U 5 DC&S€ 8117'CV' 987=CEH'TF.St/t"Do.¢.ut"in',enr mgnmsm§/¢Elmq~immnagmw 56 335
‘ _ ' epanment 0 ustlce _ "' ` ' ll l .S`ee instructions lirr "Servr'c'e of Pmccss by the U.S. Marsh;rl" 0
Unlted States Marshals Servrce__ h _ ,., .,1_ arm she mem mims rem

 

 

PLMNT[FF ‘,_,_ __ ll _ _ _:; - couRT cAsr-; NUMBER

GH}’/¢S CQHM)LS " ' `~`-" €: 17-@/-» /¢?§7_7'.367'3/)7
DEFENDANT -' '. TYPE ()l" OCES.S

/77¢)='»~',4 -W¢//¢/.éss ér//z»/ wl L

SERVE NAl&llE'(d'FlNDlVIDU L,CWNY.CORPORAT]OE£TC,,T SERVEOR ESCRIPTIONOF}‘ROPERTYTOSEEZEOR CONDEMN
* I?Qw #' f 1//#£-»'¢' 'w?e/ r»» //z»»/M /)/.@,~/7¢

ADIjRESS (Strr:et or RFD. .-‘\purtmerrt Nn.. C`r`ty. St.'rte and ZlP Cnd'e)

C-'-
AT pie 6’»4¢»£5 2>.». #/@é A¢Mé~, 776-re 3§2,3/

 

 

_ _ l :"'
§EE'_D__H_OE‘Y_O§YBY'_C§ Q_O£`LTQ BE£HF£T£'LAI §”.\_M.'= ifYéEQE*T_SS_Y*_‘”-L_O.‘l*-__l timber or process w be F_. cp _P_,' w
/_ lsmed with this Form - 23?¢:’:.‘-3_1. 94 ‘ ‘“
l o s- l <.D '.‘ C?‘

 

lserved in this case

\_J,¢=~gj #»'//, FL 317/we , §

 

..-'1 `A _ 4
S/AB ,ZAXBA/ A'l/‘ : Nurnber of panies to be ",:.';`T:"'>,`. T:;/ ’p'.§`
. - "- dc :_-_J
‘j ..--‘ j

|ch¢ck for service *., 1;.

l U 5 A _€’."‘ ..

-----------------~.~ ------------------- .O" 1__ w §;-‘»:,.'>,

SPEClAL lNSTRUCTlONS OR OTHER lNFORMATlON THAT WlLL ASSlST lN ExPEDlTING SERVICE (l'flt`lh'dr.‘ BUS{.B'§_RRd grimm Addl'r$_\'t.'$': '/}l)'l
q

Tel'ephnne Numbcrs, and Estr'mated 'l'rmes Availshle For St.‘n'r`€e).' U‘
md

_ 7€£5/5%!/£ 07 @é)v'/ ---- %ané~¢ g

w-

\

 

 

F¥Jld

'_.._
13

30

_q

.-¢
.._

§
iii

 

. ;3'.:' m
Sle)'r/é dane A o/M'é$$ 45 A,éo u.£§;; § 3

...--n_

g",_-“r ¢_D
c
... , 261

Signatu >t`/ttnmey or other )r requesting service am behalf nf'. WINT[FF '['ELEPHONF. NUMBER §§ ATE
M M [1 DEFENDANT MM @é!§ /Z/ 7

 

 

 

SPACE BEI.OW FOR USE OF U.S. MARSHAL ONLY -- DO NOT WRITE BELOW THIS LINE

l acknowledge receipt for the total -l`otal Process. Distric| l)istriel Sigrtuturc of Autlmri?.ed 'ISMS Dermt}l ur Clerk M_/ Dute
number of process indicated of On'gin m Serv fa'{?_l,é z
rsign amy nm us.\t 235 tr mm a !8 y 0 / /`j\_

man m usm 235 rt woman-di Nr '_ -.\'r»_ f% __/“ v g_, .

l hereby certify and return that lwuve personally scrved. fl have legal evidence of .~.er\'iee. [: have executed as shown in "Rem:\rks". the process described
on the individual, eump:my. curp(tmtion. etc.. al ll\e address shown rrhiwe or on the individual. company cnrpr)rulion. elc.. shown `at the address inserted beluw,

 

 

 

 

 

 

 

 

l:l l herebyl ccrlif_\' and rett:m lh;rt [ am unable lo locate the indi\idu;tl. company corporatian etc._ named above t.‘¢`er.' ."emarlr'.\ beirm'.l

 

Name and title uf individual served {r'f nut Shnu'n shovel :\ person uf suitable age and di.'.-

l@fw\ §~@e,+s lP/rwl month 31 md
l

Address tcmnplctc only if differenr than shown above

 

l);lte of Service Time am

/d(d‘+{aan 3 lot 635

Signuture of U.S.` M:lrn'ml ur De:t:yj§q
§ {.__/ l

).J
Ser\‘icr: Ft:t: Total Milc;tgc Charg€s Fl)rwun.iing l':ce l`trl;rl Chv;lrge§ r'\d\unce l_`)epu'>it\ ,-`\ nmu nl clwed 111 1..'. S. hiursl'ta] ur z\mounl cf Rt:lu nd \

vw (r`ncludin cndca\'ors) ,Z`{ 'd_?: v
65 "" c ‘“l3" SQQ iz/,,, *O |

REMARKS: ’

 

 

 

 

 

 

 

 

 

 

 

 

_;*§§EE§;'E‘§NS 1. cLERK 011 THE coURT F°“M "SM'”$ “"“ m>

